Case 2:OO-cr-20253-STA Document 293 Filed 05/03/05 Page 1 of 2 Page|D 315

[N THE UN]TED STATES DISTRICT COURT
FOR THE WESTER_N DISTRICT OF TENNESSEE

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UNITED STATES OF AMERICA §?§`i::! |,M_: _?i §%JAE.?
W.l;" ':"‘?f ‘H\~J. it»:EMFr-ris
VS' NO. 00~20253
JUAN REYNA,
Defendant.

 

ORDER ON DEFENDANT’S MOTION TO CONTINUE

SUPERVISED RELEASE VIOLATION HEARING

 

Before this Honorable Court is Defendant, IUAN REYNA’S Motion to Continue

Supervised Release Violation Hean`ng. It appearing to this Court that counsel’s Motion is

well taken;

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that

Defendant’s request to continue the Supervised Release Violation Hean`ng is granted and

Will be continued to MJ»(/l{ iq i <QUO"S @, lD:JDOaFl/\.

Entered this the ;'_v§__ day of m fn , 2005.

 

@ States Distn`ct Court JB

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UNITED `sTEATs DISTRIC COURT - WE"RNTE D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 293 in
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Honorable .1. Breen
US DISTRICT COURT

